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                   UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

YELLOWHAMMER FUND, et al.,          )
                                    )
       Plaintiffs,                  )
                                    )
v.                                  )
                                    ) No. 2:23-cv-00450-MHT-KFP
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama,                   )
                                    )
       Defendant.                   )


WEST ALABAMA            WOMEN’S )
CENTER, et al.,                     )
                                    )
       Plaintiffs,                  )
                                    )
v.                                  ) No. 2:23-cv-00451-MHT-KFP
                                    )
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama,                   )
                                    )
       Defendant.                   )

   REPLY IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Defendant Attorney General Steve Marshall replies in support of his motion

for summary judgment (doc. 62) as follows:
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                                   ARGUMENT

 I.    Plaintiffs cannot assert their clients’ right to travel.

       In making much of third-party standing being a prudential requirement,

Plaintiffs ignore the interaction between third-party standing and the Court’s subject-

matter jurisdiction to address the right-to-travel claims. Because Yellowhammer

lacks the right to travel, there would be no remaining party bringing this claim if

Plaintiffs are unable to assert their client’s rights. See Davis v. FEC, 554 U.S. 724,

734 (1996).

       Defendant does not assert that the third-party standing requirements can never

be satisfied in an abortion case. He merely asserts that decisions like Singleton v.

Wulff, 482 U.S. 106 (1976), cannot form the basis of Plaintiffs’ third-party standing

post-Dobbs. That Dobbs was brief on this point doesn’t change the conclusion. As

the Court explained, “Members of this Court have repeatedly lamented that no legal

rule or doctrine is safe from ad hoc nullification . . . in a case involving state

regulation of abortion.” Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 286

(2022) (cleaned up). Thorough dissenting opinions from Justices in the Dobbs

majority detailed the missteps of abortion standing analysis, and Dobbs pointed to

those dissents as the proper articulation of the law going forward. See id. at 286–87

n.61. This Court should not “engage in those abortion distortions in light of a




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Supreme Court decision to cease doing so.” SisterSong Women of Color Reprod.

Just. Collective v. Governor of Ga., 40 F.4th 1320, 1328 (11th Cir. 2022).

       Kowalski v. Tesmer demonstrates why Plaintiffs cannot assert their clients’

right to travel. 543 U.S. 125 (2004). Plaintiffs’ evidence shows only arms-length

relationships with hypothetical clients that involve “an incidental congruity of

interests,” Warth v. Seldin, 422 U.S. 490, 510 (1975), and thus does not establish a

close relationship indicating that Plaintiffs would be “as effective a proponent” as

the women themselves, Powers v. Ohio, 499 U.S. 400, 413 (1991) (citation omitted).

See Kowalski, 543 U.S. at 131. And women seeking abortions are no more hindered

than indigent criminal defendants who lack attorneys, which the Supreme Court

found insufficient in Kowalski. 543 U.S. at 133. Lastly, Plaintiffs’ mission-driven

incentives (compared to a pregnant woman’s direct, tangible incentives) do not make

them the “obvious claimant” or the “least awkward challenger,” contra doc. 65 at

21, to justify extending the limited category of cases where the Supreme Court has

relaxed the Kowalski elements.

II.    Yellowhammer’s extraterritoriality claim fails as a matter of law.

       Yellowhammer’s insistence that Defendant misunderstands his own

statements1 does not resolve whether § 13A-4-4 and the other criminal statutes



       1
        And of course, Defendant’s compliance with State law is not at issue. See Pennhurst State
Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984).


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“apply to events occurring and injuries suffered primarily outside the state’s

borders,” doc. 62 at 13–16. Defendant posited that application as a prerequisite for

this claim and argued that the undisputed facts showed that § 13A-4-4’s application

would be wholly within Alabama. Id. When Yellowhammer states a conspiracy

prosecution in Alabama “is possible only if” the predicate act will be illegal where

it occurs, doc. 65 at 26, it fails to acknowledge § 13A-4-4 completely.

Yellowhammer’s nonresponse offers no authority to shed light on the “novel

question” of whether extraterritoriality is implicated by the threatened prosecutions

of intrastate conduct. Doc. 48 at 90.

       While Alabamians need not comply with the Human Life Protection Act

“wherever they go,” Doc. 65 at 25, everyone in Alabama must comply with its

criminal law while they’re in Alabama. State Farm Mut. Auto. Ins. Co. v. Campbell,

538 U.S. 408, 422 (2003) (“[E]ach State may make its own reasoned judgment about

what conduct is permitted or proscribed within its borders[.]”). Yellowhammer has

yet to explain how punishing “[a] conspiracy formed in this state,” ALA. CODE

§ 13A-4-4, amounts to an unconstitutional extraterritorial application of State law.

Defendant is thus entitled to summary judgment on Yellowhammer’s

extraterritoriality claim.




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III.    Plaintiffs’ right-to-travel claims fail as a matter of law.

        In the Supreme Court’s most recent right-to-travel case, it did not “need” to

“identify the source” of the right to cross State borders “in the text of the

Constitution” because the challenged law did not “directly impair” that right. Saenz

v. Roe, 526 U.S. 489, 500-01 (1999); see also United States v. Guest, 383 U.S. 745,

759 (1966) (“no need” to get into “differences” about the source of the right because

of “agree[ment] that the right exists”). But as the West Alabama Plaintiffs admit, the

only “component[]” of the right to travel relevant in this case is the right to travel to

another State. Doc. 67 at 30 & n.14. Thus, it is crucial to “identify the source.” Saenz,

526 U.S. at 501. That “essential” step (Pollack v. Duff, 793 F.3d 34, 40 (D.C. Cir.

2015)) is especially important here because Plaintiffs ask for an extension of the

right to travel far beyond Supreme Court precedent, and the scope could be

“dramatically different” depending on its source, Lutz v. City of York, Pa., 899 F.2d

255, 261 (3d Cir. 1990).

        Looking to the sources of the right to travel, none of them support the

extension that Plaintiffs need. In any event, ALA. CODE § 13A-4-4’s application to

Plaintiffs is constitutional because it is backed up by Alabama’s strong interests in

unborn life and maternal health.




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      A. The right to travel does not apply.

      The right to travel from one State to another does not include the conduct

Plaintiffs wish to engage in. Considering the sources of the right to travel, that

becomes clear.

      The right to travel deriving from the federal government’s ability to demand

performance of duties by its citizens and rights of citizens correlating to those duties

does not apply. Crandall v. Nevada, 73 U.S. 35, 43–44 (1867). The statute in

Crandall “directly burden[ed]” the government’s “functions” and limited the “rights

of the citizens growing out of such functions.” United States v. Wheeler, 254 U.S.

281, 299 (1920). But limitations on abortions and abortion conspiracies do not

directly burden traveling to the seat of government, engaging in business with the

government, or administering government functions. Crandall, 73 U.S. at 44.

Although Plaintiffs read Crandall to create “a generalized right of free movement,”

the Supreme Court has “declined” to do that. Lutz, 899 F.2d at 265; see, e.g., doc.

67 at 47 n.21.

      If the Court wanted to extend Crandall, it had the chance when it faced a law

making it a crime to assist indigent people traveling to California. See Edwards v.

California, 314 U.S. 160, 171 (1941). The Court invoked the Commerce Clause

instead. Id. at 174. Plaintiffs read Edwards to create a categorical rule that

prohibitions on so-called traveled assistance violate the right to travel, doc. 65 at 29;



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doc. 67 at 44–46, but it held only that California’s statute placed an “intended and

immediate” “burden on interstate commerce” to benefit local interests, “especially

finance[s],” and failed “under any known test of the validity of State interference

with interstate commerce.” Edwards, 314 U.S. at 173–74. But Alabama does not

regulate abortion to assist its economy, the State has a strong interest in protecting

the unborn and maternal health, and Plaintiffs haven’t mentioned “any known test,”

id. at 174. The Supreme Court, in any event, has retreated from the Commerce

Clause as the source of the right to travel. See Bray v. Alexandria Women's Health

Clinic, 506 U.S. 263, 277 n.7 (1993).

       Nor does the Privileges and Immunities Clause help because it is not

concerned with how a State regulates its own residents within its borders. See United

Bldg. & Const. Trades Council of Camden Cnty. & Vicinity v. Mayor & Council of

City of Camden, 465 U.S. 208, 217 (1984).2 The West Alabama Plaintiffs argue that

the Clause does protect residents. But in Camden, the Court found a burden on one

of the “privileges and immunities” protected by the Clause, id. at 218, 222, yet it

maintained that residents who were denied those privileges and immunities had “no

claim,” even though out-of-state residents did, id. at 217–18, 222. That is because


       2
         See also id. at 225 (Scalia, J., dissenting) (“Both the text of the Clause and the historical
record confirm that the Framers meant to foreclose any one State from denying citizens of other
States the same ‘privileges and immunities’ accorded its own citizens.”); id. at 230 (“The Court
recognizes, as it must, that the Privileges and Immunities Clause does not afford state residents
any protection against their own State’s laws.”).


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the Clause is about protecting non-residents. See id. at 217 (explaining why residents

and non-residents are treated differently).3 Even if this Clause were the source and

it were implicated here, the question would be whether Alabama has a “substantial

reason” for its policy, and protecting its unborn and maternal health are at least a

strong as the interests behind “requiring [a] non-resident to pay more . . . for a

hunting license . . . or to enroll in the state university.” Saenz, 526 U.S. at 502.

       None of the right to travel’s sources provide the right Plaintiffs invoke, so the

Constitution does not protect it.

       B. The right-to-travel claims fail regardless.

       Even if the right to travel protects the right to obtain out-of-state abortions,

the relevant laws are still constitutional because they are reasonable. See Doe v.

Moore, 410 F.3d 1337, 1348 (11th Cir. 2005). Alabama does not impose a penalty

for leaving the State; it does not prevent women from obtaining out-of-state

abortions; nor does it necessarily prevent others from assisting them in doing so. It

prevents conspiracies formed in the State to obtain an abortion. Alabama recognizes

“the sanctity of unborn life,” ALA. CONST. art. I, § 36.06, and strives to protect

maternal health, ALA. CODE § 26-23A-2(a)(3), so it does not permit certain

coordinated efforts within the State to undermine those interests.


       3
        There is also support for components of the right to travel coming from the Due Process,
Equal Protection, and Privileges or Immunities Clauses, but those provisions are similarly
unhelpful to Plaintiffs here, see doc. 66 at 15–16.


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       Plaintiffs again argue that Alabama’s interests aren’t enough, principally

because (1) its purpose is to impede travel and (2) Alabama imposes burdens on

travel like those in Crandall and Edwards. The purpose here is not to interfere with

travel. Cf. Bray, 506 U.S. at 276 (no impermissible purpose under 42 U.S.C.

§ 1985(3) because “Petitioners oppose abortion, and it is irrelevant to their

opposition whether the abortion is performed after interstate travel”). And, as

explained, Crandall and Edwards do not apply.4

IV.    Plaintiffs’ First Amendment claims fail as a matter of law.

       Defendant’s enforcement of Alabama’s conspiracy statutes is compatible with

the First Amendment’s protection of free speech. It would not greenlight

criminalizing “speech about any activity it disfavors,” doc. 67 at 26, or bringing

criminal charges “whenever a State disagreed with the lawful speech of its citizens,”

doc. 65 at 37. Here, “a valid criminal statute,” Giboney v. Empire Storage & Ice Co.,

336 U.S. 490, 498 (1949), makes it a felony “to intentionally perform an abortion,”

unless “to prevent a serious health risk to the unborn child’s mother.” ALA. CODE

§ 26-23H-4(a). Giboney acknowledges that Alabama may enforce its conspiracy

statutes “without exception to all persons who combine” in Alabama to cause the




       4
         Yellowhammer briefly defends its own right to travel, doc. 65 at 26–28, but under the
sources protecting the right, it is either unprotected because it is a corporation or it has failed to
show why it succeeds under the source of the right. See doc. 66 at 17–19.


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performance of a specific elective abortion. Giboney, 336 U.S. at 497; see ALA.

CODE § 13A-4-4.

       As Defendant explained in response to Plaintiffs’ motions, it is lawful in

Alabama to share information about or advocate for elective abortions. Doc. 66 at

20. So “the mere discussion of options with a patient” regarding her pregnancy is

completely permissible. Doc. 36 at 30 n.22. What is criminalized is a combination,

formed with specific intent and advanced by an overt act, to cause the performance

of a particular elective abortion. Doc. 62 at 25–27.

       The linchpin of Plaintiffs’ First Amendment theory is that “the legal standing

of abortion care within Alabama” is “both legally and factually irrelevant” to their

First Amendment claims. Doc. 65 at 36. Yet, Plaintiffs argue that “the context and

circumstances surrounding abortion care in Alabama demonstrate that Plaintiff’s

desired activities” in Alabama “constitute expressive conduct.” Doc. 65 at 39

(emphasis added). The “context” that supposedly confers First Amendment

protection on Plaintiffs’ conduct is the illegality of abortion in Alabama, which

Plaintiffs consider otherwise irrelevant. See e.g., Doc. 61-4 ¶ 20 (“Today, sixteen

states, including Alabama, ban or restrict abortion care at or before six weeks since

a pregnant person's last menstrual period.”).5 This line of reasoning is untenable.


       5
        See Doc. 60-4 at 1–2 (West Alabama Plaintiffs’ Proposed Order) (“[T]he use of provisions
of Alabama’s criminal code . . . to prosecute individuals for otherwise lawful speech or conduct



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       The apparent contradiction illustrates that the legality of abortion in Alabama

is inescapably relevant, and the conspiracy statutes at issue reasonably prevent

Plaintiffs from engaging in a criminal “course of conduct.” Giboney, 336 U.S. at

502. Not at issue is the “abstract advocacy of illegality.” United States v. Williams,

553 U.S. 285, 299 (2008). Plaintiffs wish to do much more than speak, be heard, or

advocate for a political cause. Doc. 62 at 27–29. Instead, the conspiracies are

intended “to bring about a specific result” that is illegal in Alabama. United States

v. Hansen, 599 U.S. 762, 782 (2023).

       The relevant conduct is not akin to speech. Driving “pregnant people to their

abortion appointments,” Doc. 61-1 ¶ 16, no matter the location, is transportation—

not a particularized message. Doc. 62 at 28. Such transportation requires explanatory

speech to convey a message, and the factors for assessing expressive conduct, given

the undisputed facts, underscore that the First Amendment is not implicated. Doc.

66 at 21–23. Put simply, the First Amendment right to convey “a message of protest

and defiance,” doc. 65 at 31, encompasses messages, not the actual transportation of

women to abortion clinics.

       Without engaging with Defendant’s cited authority, Yellowhammer insists

that the First Amendment also protects “abortion care funding.” Doc. 65 at 39–40


that is intended to or may be used to assist Alabamians seeking to cross state lines to obtain
abortion care in a state where abortion is legal violates both the First Amendment and the
constitutionally protected right to travel.” (emphasis added)).


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(citing McCutcheon v. Fed. Election Comm’n, 572 U.S. 185 (2014)). But giving

money “directly to [abortion] clinics to help cover the cost of” a specific woman’s

“abortion,” doc. 61-2 ¶ 9, is not a political contribution.

       “The circulation of an initiative petition” is political communication. Meyer

v. Grant, 486 U.S. 414, 421 (1988). The same is true of campaigning for public

office. McCutcheon, 572 U.S. at 191. Thus, barring payments to petition circulators

(or candidates running for office) “restricts political expression.” Meyer, 486 U.S. at

422. But no provision of the United States Constitution, including the First

Amendment, protects obtaining an abortion. See Dobbs, 597 U.S. 215 at 235. For

this reason, “contribut[ing] to a candidate’s campaign,” McCutcheon, 572 U.S. at

191, and funding the circulation of initiative petitions, Doc. 62 at 28, are

constitutionally distinguishable from Plaintiffs’ desired funding of specific

abortions.

      Finally, Yellowhammer’s freedom-of-association claim turns on whether the

First Amendment protects its underlying course of conduct. Doc. 65 at 40. Because

there is no First Amendment right to procure elective abortions, there is no

“correlative freedom to engage in group effort toward those ends.” Roberts v. United

States Jaycees, 468 U.S. 609, 622 (1984).

      Defendant is thus entitled to judgment as a matter of law on each of Plaintiffs’

First Amendment claims.


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                          CONCLUSION

 Defendant’s motion for summary judgment should be granted on all counts.



                               Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on July 22, 2024, which will serve all counsel of record.

                                      /s/ Benjamin M. Seiss




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